Case 3:22-cv-02195-AGT Document 1-3 Filed 04/07/22 Page 1 of 3




               EXHIBIT 3
           Case 3:22-cv-02195-AGT Document 1-3 Filed 04/07/22 Page 2 of 3



 1   JASON N. HAYCOCK (SBN 278983)
     jason.haycock@klgates.com
 2   K&L GATES LLP
     Four Embarcadero Center, Suite 1200
 3   San Francisco, CA 94111
     Telephone: (415) 882-8200
 4   Facsimile: (415) 882-8220

 5   Attorneys for Defendant
     TYLER TECHNOLOGIES, INC.
 6

 7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                                  FOR THE COUNTY OF SAN MATEO
 9

10   SANJIV N. SINGH, an individual; and          Case No. 22-CIV-00985
     SANJIV N. SINGH, A PROFESSIONAL LAW
11   CORPORATION, a California Corporation;
                                                  DEFENDANT TYLER TECHNOLOGIES,
12                    Plaintiffs,                 INC.’S NOTICE OF FILING OF NOTICE
                                                  OF REMOVAL
13   vs.
14   TYLER TECHNOLOGIES, INC., a Delaware
     Corporation; and
15   DOES 1 THROUGH 50,
16                   Defendants.                  Complaint Filed:   March 7, 2022
                                                  Trial Date:        TBD
17

18

19

20

21

22

23

24

25

26

27

28


           DEFENDANT TYLER TECHNOLOGIES, INC.’S NOTICE OF FILING NOTICE OF REMOVAL
           Case 3:22-cv-02195-AGT Document 1-3 Filed 04/07/22 Page 3 of 3



 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that a Notice of Removal of this action was filed in the United

 3   States District Court for the Northern District of California on April 7, 2022. A true and correct copy

 4   of the Notice of Removal is attached hereto as Exhibit 1.

 5           PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446(d), the filing of the

 6   Notice of Removal in the United States District Court, together with the filing of this Notice, results in

 7   the removal of this action to Federal Court and deprives this Court of jurisdiction to proceed any further

 8   in this case.

 9

10                                                             K&L GATES LLP
11

12
     Dated: April 7, 2022                            By:
13                                                             JASON N. HAYCOCK
14                                                             Attorneys for Defendant
                                                               TYLER TECHNOLOGIES, INC.
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                           1
            DEFENDANT TYLER TECHNOLOGIES, INC.’S NOTICE OF FILING NOTICE OF REMOVAL
